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                                                22cr10132-H
                           U.S. District Court
                 SOUTHERN DISTRICT OF TEXAS (Laredo)
          CRIMINAL DOCKET FOR CASE #: 5:18-cr-00398 All Defendants


Case title: USA v. Roffler                                    Date Filed: 06/05/2018

 Magistrate judge case number: 5:18-mj-00455                  Date Terminated: 12/20/2018

Assigned to: Judge Diana Saldana

Defendant (1)
Eugene Christian Roffler                       represented by Raul Agustin Martinez , Jr
TERMINATED: 12/20/2018                                        Office of the Federal Public Defender
                                                              1202 Houston Street
                                                              Laredo, TX 78040
                                                              956-753-5313
                                                              Fax: 956-753-5317
                                                              Email: raul_martinez@fd.org
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Public Defender or
                                                              Community Defender Appointment

                                                               Federal Public Defender - Laredo
                                                               1202 Houston St
                                                               Laredo, TX 78040
                                                               956-753-5313
                                                               Email: lar_ecf@fd.org
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Public Defender or
                                                               Community Defender Appointment

Pending Counts                                                 Disposition

                                                               70 months imprs concurrent on Cts 1-3;
                                                               participation in drug treatment program,
                                                               mental health treatment, and vocational
                                                               training (UNICOR) while incarcerated;
Conspiracy to import 1 kilogram or                             5 yrs TSR concurrent on Cts 1-3; all
more of heroin, 5 kilograms or more of                         standard and mandatory conditions
cocaine. Penalty: 10 years to life of                          apply; inpatient and outpatient drug
imprisonment, not more than a                                  treatment; mental health treatment; no
$10,000,000 fine, $100 special                                 possession of substances without



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assessment, at least a 5 years up to a life                prescription; $100.00 Special
term of supervised release                                 Assessment on Cts 1-3 = $300.00; no
(1)                                                        fine imposed as to any of the counts;
                                                           recommendation of placement in the
                                                           Bastrop facility; the defendant is
                                                           advised of his right to appeal (notified
                                                           of 14 day deadline)
                                                           70 months imprs concurrent on Cts 1-3;
                                                           participation in drug treatment program,
                                                           mental health treatment, and vocational
                                                           training (UNICOR) while incarcerated;
                                                           5 yrs TSR concurrent on Cts 1-3; all
Importation of 1 kilogram or more of
                                                           standard and mandatory conditions
heroin. Penalty: 10 years to life of
                                                           apply; inpatient and outpatient drug
imprisonment, not more than a
                                                           treatment; mental health treatment; no
$10,000,000 fine, $100 special
                                                           possession of substances without
assessment, at least a 5 years up to a life
                                                           prescription; $100.00 Special
term of supervised release
                                                           Assessment on Cts 1-3 = $300.00; no
(2)
                                                           fine imposed as to any of the counts;
                                                           recommendation of placement in the
                                                           Bastrop facility; the defendant is
                                                           advised of his right to appeal (notified
                                                           of 14 day deadline)
                                                           70 months imprs concurrent on Cts 1-3;
                                                           participation in drug treatment program,
                                                           mental health treatment, and vocational
                                                           training (UNICOR) while incarcerated;
                                                           5 yrs TSR concurrent on Cts 1-3; all
Importation of 5 kilograms or more of
                                                           standard and mandatory conditions
cocaine. Penalty: 10 years to life of
                                                           apply; inpatient and outpatient drug
imprisonment, not more than a
                                                           treatment; mental health treatment; no
$10,000,000 fine, $100 special
                                                           possession of substances without
assessment, at least a 5 years up to a life
                                                           prescription; $100.00 Special
term of supervised release
                                                           Assessment on Cts 1-3 = $300.00; no
(3)
                                                           fine imposed as to any of the counts;
                                                           recommendation of placement in the
                                                           Bastrop facility; the defendant is
                                                           advised of his right to appeal (notified
                                                           of 14 day deadline)

Highest Offense Level (Opening)
Felony

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)




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None

Complaints                                                 Disposition
                                                           70 months imprs concurrent on Cts 1-3;
                                                           participation in drug treatment program,
                                                           mental health treatment, and vocational
                                                           training (UNICOR) while incarcerated;
                                                           5 yrs TSR concurrent on Cts 1-3; all
                                                           standard and mandatory conditions
                                                           apply; inpatient and outpatient drug
21:841 (a)(1) 846 42.54 Cocaine :&                         treatment; mental health treatment; no
5.84 Heroin                                                possession of substances without
                                                           prescription; $100.00 Special
                                                           Assessment on Cts 1-3 = $300.00; no
                                                           fine imposed as to any of the counts;
                                                           recommendation of placement in the
                                                           Bastrop facility; the defendant is
                                                           advised of his right to appeal (notified
                                                           of 14 day deadline)


Plaintiff
USA                                         represented by Alfredo Perez de la Rosa , Jr.
                                                           U.S. Attorney's Office
                                                           Southern District of Texas
                                                           1100 Matamoros St
                                                           Ste 201
                                                           Laredo, TX 78040
                                                           956-723-6523
                                                           Email: alfredo.de.la.rosa@usdoj.gov
                                                           TERMINATED: 09/13/2018
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           April Holly Ayers-Perez
                                                           United States Attorney's Office
                                                           11204 McPherson Rd
                                                           Ste 100A
                                                           Laredo, TX 78045
                                                           956-723-6523
                                                           Email: april.perez@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Christopher Shawn Coker
                                                           Office of Christopher S. Coker
                                                           3131 McKinney Ave
                                                           Ste 800
                                                           Dallas, TX 75204



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                                                            469-951-6954
                                                            Email: scoker9@msn.com
                                                            TERMINATED: 06/12/2018
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                            Financial Litigation
                                                            U S Attorney's Office
                                                            Southern District of Texas
                                                            1000 Louisiana St
                                                            Ste 2300
                                                            Houston, TX 77002
                                                            713-567-9000
                                                            Fax: 713-718-3391 fax
                                                            Email: flu.usatxs-@usdoj.gov
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained


 Date Filed      #   Docket Text
 05/13/2018          Magistrate Judge Diana Song Quiroga assigned and added. (mxperezadi, 5)
                     [5:18-mj-00455] (Entered: 05/13/2018)
 05/13/2018       1 Proposed COMPLAINT as to Eugene Christian Roffler (1), filed. (Webb)
                    Probable Cause review set for 5/14/2018 at 05:00 AM before Magistrate Judge
                    Diana Song Quiroga. Initial Appearance set for 5/14/2018 at 09:00 AM before
                    Magistrate Judge Diana Song Quiroga (mxperezadi, 5) [5:18-mj-00455]
                    (Entered: 05/13/2018)
 05/13/2018       2 Statement in Support of Probable Cause by USA as to Eugene Christian
                    Roffler, filed.(mxperezadi, 5) [5:18-mj-00455] (Entered: 05/13/2018)
 05/13/2018          Case unsealed as to Eugene Christian Roffler (dflores, 5) [5:18-mj-00455]
                     (Entered: 05/14/2018)
 05/13/2018       3 FINDING OF PROBABLE CAUSE ON STATEMENT on May 13, 2018 at
                    05:23 PM as to Eugene Christian Roffler. Initial Appearance set for 5/14/2018
                    at 09:00 AM before Magistrate Judge Diana Song Quiroga. (Signed by
                    Magistrate Judge Diana Song Quiroga) Parties notified. (dflores, 5) [5:18-mj-
                    00455] (Entered: 05/14/2018)
 05/14/2018       4 COMPLAINT accepted by Magistrate Judge Diana Song Quiroga as to Eugene
                    Christian Roffler, filed. Agent: Lori Robinson (dflores, 5) [5:18-mj-00455]
                    (Entered: 05/14/2018)
 05/14/2018          Attorney update in case as to Eugene Christian Roffler. Attorney Federal Public
                     Defender - Laredo for Eugene Christian Roffler added. (dfloresadi, 5) [5:18-mj-
                     00455] (Entered: 05/14/2018)
 05/14/2018          Minute Entry for proceedings held before Magistrate Judge Diana Song
                     Quiroga. INITIAL APPEARANCE on Complaint as to Eugene Christian




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                     Roffler held on 5/14/2018. Defendant advised of charge(s) and rights.
                     Defendant requests appointed counsel. Financial Affidavit executed. Order
                     appointing Federal Public Defender. Order of Temporary Detention Pending
                     Hearing. No bond set. Appearances: Andy Guardiola, AUSA; FPD Arturo
                     Villarreal III (on duty); USPTO: Julio Taboada; USPO: Alicia Blanco; USM:
                     Marcos Pompa. (Opened/Adjourned: 9:34 AM - 9:38 AM) (ERO: Terry
                     Lozano) (Interpreter: Gregorio Ayala, not used) Defendant remanded to
                     custody Preliminary Examination & Detention Hearing set for 5/18/2018 at
                     10:00 AM in Courtroom 2B before Magistrate Judge Diana Song Quiroga.
                     (dfloresadi, 5) [5:18-mj-00455] (Entered: 05/14/2018)
 05/14/2018       5 Sealed Financial Affidavit CJA 23 by Eugene Christian Roffler, filed. (nortiz,
                    5). [5:18-mj-00455] (Entered: 05/14/2018)
 05/14/2018       6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER. (Signed by
                    Magistrate Judge Diana Song Quiroga) Parties notified. (dfloresadi, 5) [5:18-
                    mj-00455] (Entered: 05/14/2018)
 05/14/2018       7 NOTICE OF SETTING as to Eugene Christian Roffler. Preliminary
                    Examination Hearing set for 5/18/2018 at 10:00 AM in Courtroom 2B before
                    Magistrate Judge Diana Song Quiroga. (dfloresadi, 5) [5:18-mj-00455]
                    (Entered: 05/14/2018)
 05/14/2018       8 Order of Temporary Detention Pending Hearing as to Eugene Christian Roffler.
                    Detention Hearing set for 5/18/2018 at 10:00 AM in Courtroom 2B before
                    Magistrate Judge Diana Song Quiroga. ( Signed by Magistrate Judge Diana
                    Song Quiroga) Parties notified. (dfloresadi, 5) [5:18-mj-00455] (Entered:
                    05/14/2018)
 05/15/2018          NOTICE OF ATTORNEY APPEARANCE Raul Agustin Martinez, Jr, Federal
                     Public Defender, in case as to Eugene Christian Roffler, filed.(Martinez, Raul)
                     [5:18-mj-00455] (Entered: 05/15/2018)
 05/17/2018       9 NOTICE OF SETTING as to Eugene Christian Roffler. Preliminary
                    Examination & Detention Hearing set for 5/18/2018 at 01:00 PM in Courtroom
                    2B before Magistrate Judge Diana Song Quiroga, filed. (dflores, 5) [5:18-mj-
                    00455] (Entered: 05/17/2018)
 05/17/2018          **Terminate Deadlines and Hearings as to Eugene Christian Roffler. (dflores,
                     5) [5:18-mj-00455] (Entered: 05/17/2018)
 05/18/2018     10 Pretrial Services Report (Sealed) as to Eugene Christian Roffler, filed. (hcortez,
                   5) [5:18-mj-00455] (Entered: 05/18/2018)
 05/18/2018          **Terminate Preliminary Examination and Detention Hearing as to Eugene
                     Christian Roffler. Hearings did not go forward. FPD Raul Martinez submitted
                     waivers of Preliminary Examination and Detention hearings to the Court.
                     (dflores, 5) [5:18-mj-00455] (Entered: 05/20/2018)
 05/18/2018     11 WAIVER of Preliminary Hearing by Eugene Christian Roffler, filed.(nortiz, 5)
                   [5:18-mj-00455] (Entered: 05/21/2018)
 05/18/2018     12 Defendant's RESPONSE To Notice of Detention Hearing by Eugene Christian
                   Roffler re 8 Order of Temporary Detention, filed.(nortiz, 5) [5:18-mj-00455]




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                     (Entered: 05/21/2018)
 05/18/2018     13 Order of Temporary Detention Pending Trial as to Eugene Christian Roffler.
                   (Signed by Magistrate Judge Diana Song Quiroga). Parties notified. (dflores, 5)
                   [5:18-mj-00455] (Entered: 05/21/2018)
 06/05/2018     14 INDICTMENT (The original indictment with the signature of the grand jury
                   foreperson is on file under seal with the clerk) as to Eugene Christian Roffler
                   (1) count(s) 1, 2, 3, filed. (Attachments: # 1 Unredacted attachment)
                   (dgonzalezadi, 5) (Entered: 06/05/2018)
 06/05/2018     15 SCHEDULING ORDER as to Eugene Christian Roffler. Arraignment set for
                   6/14/2018 at 11:00 AM in Courtroom 2B before Magistrate Judge Diana Song
                   Quiroga Dispositive Motion Filing due by 6/25/2018. Final Pretrial Conference
                   set for 8/1/2018 at 01:30 PM in Courtroom 2B before Magistrate Judge Diana
                   Song Quiroga ( Signed by Judge Diana Saldana) Parties notified.
                   (dgonzalezadi, 5) (Entered: 06/05/2018)
 06/12/2018     16 Notice of Substitution by USA as to Eugene Christian Roffler. Attorney
                   Alfredo de la Rosa added. Attorney Christopher Shawn Coker terminated, filed.
                   (de la Rosa, Alfredo) (Entered: 06/12/2018)
 06/13/2018     17 WAIVER of Presence at Arraignment and Entry of Plea of Not Guilty (The
                   Arraignment is canceled pending review of the waiver by the Court.), filed.
                   (Martinez, Raul) (Entered: 06/13/2018)
 06/13/2018     18 ORDER accepting 17 Waiver of Presence at Arraignment as to Eugene
                   Christian Roffler (1).(Signed by Magistrate Judge Diana Song Quiroga.) Parties
                   notified.(cdom, 5) (Entered: 06/13/2018)
 08/01/2018          RE-ARRAIGNMENT Minute Entry for proceedings held before Magistrate
                     Judge Diana Song Quiroga on 8/1/2018 as to Eugene Christian Roffler :
                     Defendant pled Guilty to Count(s) 1-3 of the Indictment. Cold Plea. Appeal
                     Waived: No. PSI due by: 9/5/2018. Date: N/A ; N/A. Counsel present for PSI
                     Interview? Yes. Appearances: AUSA Francisco Jose Rodriguez appearing for
                     Alfredo de la Rosa f/USA; AFPD Raul A. Martinez f/Defendant. Deft
                     remanded to Custody. (ERO: Anabel Pottin) (Interpreter: Henry Rugeles-
                     Carrillo, Diana Gonzalez not used) (Time in Court 1:46-2:50) (avelizadi, 5)
                     (Entered: 08/01/2018)
 08/01/2018     19 ORDER for Presentence Investigation and Disclosure & Sentencing Dates as to
                   Eugene Christian Roffler. PSI Completion due by 9/5/2018. (Signed by Judge
                   Diana Saldana) Parties notified. (avelizadi, 5) (Entered: 08/01/2018)
 08/01/2018     20 REPORT AND RECOMMENDATION OF THE UNITED STATES
                   MAGISTRATE JUDGE as to Eugene Christian Roffler Objections to R&R due
                   by 8/15/2018 ( Signed by Magistrate Judge Diana Song Quiroga) Parties
                   notified. (dmorales, 5) (Entered: 08/01/2018)
 08/01/2018     21 Consent to Administration of Guilty Plea and Fed.R.Crim.P. 11 Allocution by
                   United States Magistrate Judge by Eugene Christian Roffler, filed.(dgonzalez,
                   5) (Entered: 08/01/2018)
 08/16/2018     22 ORDER ADOPTING REPORT AND RECOMMENDATION - Guilty Plea as




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                     to Eugene Christian Roffler re: 20 Report and Recommendations ( Signed by
                     Judge Diana Saldana) Parties notified. (AlexanderEpsteinadi, 5) (Entered:
                     08/16/2018)
 09/13/2018     23 Notice of Substitution by USA as to Eugene Christian Roffler. Attorney APRIL
                   AYERS-PEREZ added. Attorney Alfredo Perez de la Rosa, Jr terminated, filed.
                   (Ayers-Perez, April) (Entered: 09/13/2018)
 09/26/2018     24 Unopposed MOTION for Extension of Time to File Response/Reply
                   PRESENTENCE REPORT by Eugene Christian Roffler, filed. (Attachments: #
                   1 Proposed Order)(Martinez, Raul) (Entered: 09/26/2018)
 09/27/2018     25 ORDER as to Eugene Christian Roffler Granting 24 Unopposed MOTION for
                   Extension of Time to File Response/Reply PRESENTENCE REPORT
                   (Objection to PSI due by 10/10/2018) (Signed by Judge Diana Saldana) Parties
                   notified. (mmarquez, 5) (Entered: 09/27/2018)
 10/10/2018     26 Objection to Presentence Investigation Report (Sealed) by Eugene Christian
                   Roffler, filed. (Entered: 10/10/2018)
 10/24/2018     27 Response to Objections to PSR (Sealed) by USA as to Eugene Christian
                   Roffler, filed. (Entered: 10/24/2018)
 10/30/2018     28 Revised Presentence Investigation Report (Sealed) as to Eugene Christian
                   Roffler, filed. (crrodriguez, 5) (Entered: 10/30/2018)
 10/30/2018     29 Sealed Addendum to 28 Final Presentence Investigation Report (Sealed) as to
                   Eugene Christian Roffler, filed. (crrodriguez, 5) (Entered: 10/30/2018)
 10/30/2018     30 Confidential Sentencing Recommendation(Sealed) regarding Eugene Christian
                   Roffler, filed. (crrodriguez, 5) (Entered: 10/30/2018)
 12/14/2018     31 NOTICE OF SETTING as to Eugene Christian Roffler. Sentencing set for
                   12/20/2018 at 01:30 PM in Courtroom 3A before Judge Diana Saldana, filed.
                   (clrodriguez, 5) (Entered: 12/14/2018)
 12/20/2018     32 NOTICE OF RESETTING as to Eugene Christian Roffler. Sentencing set for
                   12/20/2018 at 09:00 AM in Courtroom 3A before Judge Diana Saldana, filed.
                   (clrodriguez, 5) (Entered: 12/20/2018)
 12/20/2018          Minute Entry for proceedings held before Judge Diana Saldana. Before the
                     Court is a 40 year old U.S. citizen who also has citizenship from Mexico. The
                     Court responds to the defense counsel's request for a minor role adjustment
                     (coming for one purpose, does not deny responsibility, had no control over the
                     type of drugs or the amount of drugs). The Court states the following as to the
                     request for denying the role adjustment defendant had a mitigating role in the
                     offense, before the Court is someone who had a relationship with another to
                     (transport monies, register a vehicle under his name, met someone to pick up
                     vehicle, there were packages in the vehicle, and was asked to delete text
                     messages), these conducts and actions, do not indicate a less culpable than
                     average participant. Documents provided by defense counsel are placed inside
                     the Court's copy of the PSR [records check done in Mexico on 2013 and 2015 -
                     reflects no criminal history, copy of pay stub from Mexico, and a letter from
                     place of employment called Soriana]. The Court has taken all factors under




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                     3553 and sentences the defendant as follows. Sentencing held on 12/20/2018
                     for Eugene Christian Roffler (1), [COUNTS 1-3] - 70 months imprs concurrent
                     on Cts 1-3; participation in drug treatment program, mental health treatment,
                     and vocational training (UNICOR) while incarcerated; 5 yrs TSR concurrent on
                     Cts 1-3; all standard and mandatory conditions apply; inpatient and outpatient
                     drug treatment; mental health treatment; no possession of substances without
                     prescription; $100.00 Special Assessment on Cts 1-3 = $300.00; no fine
                     imposed as to any of the counts; recommendation of placement in the Bastrop
                     facility; the defendant is advised of his right to appeal (notified of 14 day
                     deadline). TIME: 10:03 AM - 10:54 AM. Appearances: USPO Guillermo
                     Garcia, AUSA Francisco Rodriguez and AFPD Raul Martinez f/deft.
                     (ERO:Terry Lozano) (Interpreter:Ana Maria Koency (not used) Deft remanded
                     to the custody of the U.S. Marshal., filed.(vcaballero, 5) Modified on
                     12/20/2018 (vcaballero, 5). (Entered: 12/20/2018)
 12/20/2018     33 NOTICE OF NON-APPEAL by Eugene Christian Roffler,filed.(nortiz, 5)
                   (Entered: 12/20/2018)
 01/02/2019     34 JUDGMENT as to Eugene Christian Roffler (Signed by Judge Diana Saldana)
                   Parties notified. (mmarquez, 5) (Entered: 01/02/2019)
 01/02/2019     35 Statement of Reasons (Sealed) as to Eugene Christian Roffler. NOTICE:
                   Document available to applicable parties only. Authorized users enter CM/ECF
                   Filer login and password first for authentication. Instructions available at
                   http://www.txs.uscourts.gov/attorney-information - Electronic Access to Sealed
                   Documents. Be sure to SAVE the document locally at the time of viewing,
                   filed. (Entered: 01/02/2019)
 01/23/2019     36 Sealed Event 28 , filed. (Entered: 01/23/2019)




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